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   7                 IN THE UNITED STATES DISTRICT COURT
   8               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
   9    IN RE PORTFOLIO RECOVERY                 No. 11-md-02295-JAH-BGS
  10    ASSOCIATES, LLC, TELEPHONE               Member cases:
        CONSUMER PROTECTION ACT                   All member cases
  11    LITIGATION                               Hon. John A. Houston
  12

  13                                             ORDER GRANTING
                                                 PRELIMINARY APPROVAL OF
  14                                             CLASS ACTION SETTLEMENT

  15         Plaintiffs Plaintiffs Jeremy Frydman, John Howard, Sam Marin, Jesse Meyer,
  16
       Fred Jury, and Danny Allen (collectively, "Plaintiffs") have filed a Motion for
  17

  18   Preliminary Approval of Class Action Settlement and Certification of Settlement
  19   Class (hereinafter referred to as the “Preliminary Approval Motion”) in the above-
  20
       captioned action (the “Lawsuit”). The Preliminary Approval Motion is unopposed
  21

  22   by Defendants Portfolio Recovery Associates, LLC, and PRA Group, Inc. f/k/a
  23   Portfolio Recovery Associates, Inc. (collectively, “PRA”). The Court has read and
  24
       considered the Settlement Agreement (the “Agreement”), the Preliminary Approval
  25

  26   Motion, and the record in this case. The capitalized terms used in this Preliminary
  27   Approval Order have the same meaning as defined in the Agreement.
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                                                 1
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   1          NOW, THEREFORE IT IS HEREBY ORDERED, ADJUDGED AND
   2
       DECREED THAT:
   3

   4   I.     JURISDICTION: The Court has jurisdiction over the subject matter of the

   5   Lawsuit and over all settling parties hereto.
   6
       II.    PRELIMINARY APPROVAL OF PROPOSED SETTLEMENT: The Court
   7

   8   preliminarily finds that the settlement of the Action, on the terms and conditions set
   9   forth in the Agreement and the exhibits thereto, is in all respects fundamentally fair,
  10
       reasonable, adequate and in the best interests of the Class Members, taking into
  11

  12   consideration the benefits to Class Members; the strength and weaknesses of
  13   Plaintiffs’ case; the complexity, expense and probable duration of further litigation;
  14
       and the risk and delay inherent in possible appeals. The Court finds that Notice of
  15

  16   the Agreement should be given to persons in the Class and a full hearing should be
  17   held on approval of the Agreement. The provisions of the Agreement are
  18
       preliminarily approved and the Parties shall comply with its terms. All objections to
  19

  20   the preliminary approval of the Settlement are overruled.
  21
       III.   SETTLEMENT ADMINISTRATOR: The Court approves the selection of
  22
       KCC, LLC to be the Settlement Administrator. The Settlement Administrator will
  23

  24   administer the applicable provisions of the Agreement in accordance with the terms
  25
       of the Agreement, including, but not limited to, distributing and providing the class
  26
       Notice, receiving and examining Claims, calculating claims against the $18,000,000
  27

  28   Settlement Fund, preparing and executing all disbursements of the Settlement Fund
                                                  2
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   1   to Settlement Class Members whose Claims are approved, and handling inquiries
   2
       about the calculation of the individual settlement amounts. All reasonable fees and
   3

   4   costs of the Settlement Administrator shall be deducted from the Settlement Fund,

   5   and shall not be paid separately by PRA (apart from the creation of the Settlement
   6
       Fund).
   7

   8   IV.   CAFA COMPLIANCE: In compliance with the Class Action Fairness Act, 28
   9   U.S.C. § 1715, and as set forth in the Agreement, the Settlement Administrator is
  10
       ordered to serve written notice of the proposed settlement on the U.S. Attorney
  11

  12   General and the appropriate state official of each state, unless such notice has
  13   already been served.
  14
       V.    CLASS MEMBERS: Pursuant to Fed. R. Civ. P. 23(b)(3), the Lawsuit is
  15

  16   hereby preliminarily and conditionally certified, for settlement purposes only,
  17   as a class action on behalf of the following class members:
  18

  19

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                                                  3
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   1         All natural persons residing in the United States who received one or
   2
             more telephone calls from an autodialer or a predictive dialer operated
   3

   4         by Defendants to such person’s cellular telephone number between

   5         December 23, 2006 and July 1, 2013, inclusive, and who are listed in
   6
             the csv data file titled pra_outbound_dial_list_20140304.zip produced
   7

   8         to Plaintiffs’ counsel.
   9
       Excluded from the Class are the Judges to whom the Action is assigned and any
  10

  11   member of the Judges’ staffs and immediate families, as well as all persons who

  12   validly request exclusion from the Settlement Class.
  13
       VI.   CLASS REPRESENTATIVES AND CLASS COUNSEL APPOINTMENT:
  14

  15   The Court appoints Plaintiffs as the Class Representatives, Ethan Preston and

  16   Preston Law Offices and James O. Latturner and Edelman, Combs, Latturner &
  17
       Goodwin, LLC as Class Counsel, and the Law Offices of Douglas J. Campion,
  18

  19   APC, as Liaison Counsel.

  20   VII. NOTICE AND CLAIMS PROCESS: The Court approves the claims process
  21
       as set forth in the Agreement. All claims must be submitted, or postmarked if
  22

  23   mailed, no later than forty (40) days prior to the Final Hearing (i.e., the deadline is
  24   currently October 26, 2016). The Court approves the form, content and method of
  25
       notice as set forth in the Agreement. As further set forth in the Agreement, no later
  26

  27   than thirty (30) days from the date of this order, the Settlement Administrator shall
  28
                                                  4
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   1   (A) establish a settlement website containing appropriate Notice of the Settlement
   2
       and (B) promulgate publication Notice as set forth in the Agreement. As set forth in
   3

   4   the Agreement, no later than forty-five (45) days from the date of this order (but

   5   after the foregoing website is accessible to Class members), or by such time as is
   6
       reasonably necessary, the Settlement Administrator shall complete sending Notice
   7

   8   in post card format to each Class Member at his or her last known valid address.
   9   The Settlement Administrator will use a National Change of Address database to
  10
       identify and update any outdated addresses in the data file containing the Class
  11

  12   members, as set forth in the Agreement. Any Notices that are returned as non-
  13   deliverable with a forwarding address shall promptly be re-mailed by the Settlement
  14
       Administrator to such forwarding address. The publication notice via online text
  15

  16   and banner ads and comparable advertising venues shall continue until at least 30
  17   days prior to the Final Hearing, or for such time and in such manner as the
  18
       Settlement Administrator deems is necessary and proper for such publication
  19

  20   notice, as set forth in the Agreement. No later than ten (10) business days prior to
  21
       the Final Hearing (i.e., the deadline is currently November 21, 2016), the
  22
       Settlement Administrator shall file with the Court a declaration attesting that it
  23

  24   provided the Notice required by this Order and the Agreement.
  25
             The Court finds that the form, content, and method of Notice set forth in the
  26
       Agreement constitute the best practicable notice under the circumstances, are
  27

  28   reasonably calculated to apprise the Class Members of the pendency of this action
                                                  5
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   1   and the terms of the proposed settlement, and satisfy the due process requirements
   2
       of the Constitution of the United States, Rule 23(c)(2) of the Federal Rules of Civil
   3

   4   Procedure, and any other applicable laws.

   5   VIII. SETTLEMENT FUND AND PLAINTIFFS’ INCENTIVE PAYMENTS: The
   6
       Court preliminarily approves the $18,000,000 Settlement Fund as a fair, reasonable
   7

   8   and adequate settlement of Plaintiffs’ claims on behalf of the Class Members. The
   9   Court also preliminarily approves the incentive payments that will be sought by
  10
       Plaintiffs to be paid from the Settlement Fund.
  11

  12   IX.   CLASS CERTIFICATION: The Court preliminarily finds that, for settlement
  13   purposes only, the Class satisfies the requirements of Rule 23 of the Federal Rules
  14
       of Civil Procedure.
  15

  16   X.    EXCLUSIONS: Any Class Member may request to be excluded from the
  17   Class by mailing a letter or other writing containing that request. The Request for
  18
       Exclusion should be sent by first class mail to the Settlement Administrator and
  19

  20   contain the Class Member’s full name, address, telephone number, and e-mail
  21
       address if available. The Request for Exclusion shall be postmarked no fewer than
  22
       thirty (30) days prior to the Final Hearing (i.e., the deadline is currently November
  23

  24   4, 2016). The Settlement Administrator shall provide a list of only the names of
  25
       each Class Member who submitted a valid Request for Exclusion to the parties’
  26
       counsel no later than fifteen (15) days prior to the Final Hearing (i.e., the deadline
  27

  28   is currently November 20, 2016). All updated identifying information may be
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   1   provided to Plaintiffs’ counsel upon request but not to defense counsel, as per the
   2
       Agreement.
   3

   4   XI.   OBJECTIONS TO THE AGREEMENT: Any Class Member may object to

   5   the terms of the Agreement, including, but not limited to, the benefits to be paid to
   6
       the Class under the Agreement, Class Counsel’s application for attorneys’ fees and
   7

   8   litigation expenses, and the Class Representatives’ service payments by filing a
   9   written objection with the Court no later than thirty (30) days prior to the Final
  10
       Hearing (i.e., the deadline is currently November 4, 2016). Objections are deemed
  11

  12   filed on the date when the Court receives them. Copies of any objections must be
  13   mailed to Class Counsel and PRA’s counsel at the time they are filed with the
  14
       Court. The written objection must include the Class Member’s name, address,
  15

  16   telephone number, e-mail address (if available), the reason for the objection,
  17   whether the objector intends to appear at the Final Hearing, and if so, whether they
  18
       will appear pro se or through counsel, and list all cases in which the Class Member
  19

  20   has made any objection to a class action settlement in the last five years. The
  21
       objection must include any evidence supporting the objection. Any Class Member
  22
       who does not file a valid and timely objection to the settlement shall be barred from
  23

  24   seeking review of the settlement by appeal or otherwise.
  25
       XII. MOTION FOR PLAINTIFFS’ INCENTIVE AWARDS AND AWARD OF
  26
       ATTORNEYS’ FEES AND COSTS: Class Counsel shall move for approval of (A)
  27

  28   Plaintiffs’ incentive awards and (B) an award for attorneys’ fees and expenses no
                                                  7
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   1   later than sixty (60) days before the Final Hearing (i.e., the deadline is currently
   2
       October 6, 2016). Class Counsel may file any supplemental brief in support of such
   3

   4   motions and any brief in opposition or response to any objection) no later than

   5   seven (7) days prior to the Final Hearing (i.e., the deadline is currently November
   6
       28, 2016). The motion for final approval of incentive awards and motion for
   7

   8   attorneys’ fees shall be posted on the website of the Claims Administrator so that
   9   they may be reviewed by any member of the Class or any other person.
  10
       XIII. FINAL APPROVAL MOTION: Class Counsel shall file a motion for final
  11

  12   approval of settlement no later than sixty (60) days before the Final Hearing (i.e.,
  13   the deadline is currently October 6, 2016). Class Counsel may file any
  14
       supplemental brief in support of such final approval motions and any brief in
  15

  16   opposition or response to any objection no later than seven (7) days prior to the
  17   Final Hearing (i.e., the deadline is currently November 28, 2016).
  18
       XIV. FINAL HEARING: The Court shall conduct a hearing (the “Final Hearing”)
  19

  20   on December 5, 2016, at 2:30 p.m., in Courtroom 13B of the United States District
  21
       Court for the Southern District of California, 333 West Broadway, San Diego,
  22
       California, 92101. The Final Hearing may be rescheduled or continued by the Court
  23

  24   without further notice to the Class Members. At the hearing, the Court will
  25
       consider the following issues: (A) Whether this action satisfies the applicable
  26
       prerequisites for class action treatment for settlement purposes under Fed. R. Civ. P
  27

  28   23; (B) Whether the proposed settlement is fundamentally fair, reasonable,
                                                  8
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   1   adequate, and in the best interest of the Class Members and should be approved by
   2
       the Court; (C) Whether the order granting final approval of class action settlement
   3

   4   and judgment, as provided under the Agreement, should be entered, dismissing the

   5   Lawsuit with prejudice and releasing the Released Claims against the Released
   6
       Parties; and (D) Such other issues as the Court deems appropriate. Class Members
   7

   8   need not appear at the hearing or take any other action to indicate their approval of
   9   the proposed class action Settlement Agreement. However, Class Members wishing
  10
       to be heard are required to submit a notice of intention to appear at the Final
  11

  12   Hearing.
  13   XV.   STAY ON FURTHER ACTIONS AGAINST PRA: Pending the final
  14
       determination of the fairness, reasonableness, and adequacy of the proposed
  15

  16   Agreement, no Class Member may prosecute, institute, commence, or continue any
  17   lawsuit (individual action or class action) with respect to the Released Claims
  18
       against the Released Parties. If the Agreement is not finally approved for any
  19

  20   reason, then this order shall be vacated, the Agreement shall have no force and
  21
       //
  22
       //
  23

  24   //
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       //
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                                                  9
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    1   effect, and the Parties’ rights and defenses shall be restored, without prejudice, to
    2
        their respective positions as if the Agreement had never been executed and this
    3

    4   order never entered.

    5               IT IS SO ORDERED.
    6
        Dated:      June 23, 2016
    7                                    THE HONORABLE JOHN A. HOUSTON
    8                                    UNITED STATES DISTRICT COURT JUDGE
                                         SOUTHERN DISTRICT OF CALIFORNIA
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